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MUS3570391.1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEIDRA HUBAY, ROBERT LOSIENIECKI,                )
JESSICA DORANTES and ALEXIS                      )
GABRIELLE HERRICK,                               )     Civil Action No. 2:19-cv-01327-NR
                                                 )
                      Plaintiffs,                )
        v.                                       )
                                                 )     JURY TRIAL DEMANDED
JANELLE MARINA MENDEZ, PAMELA                    )
HEAL and MILITARY SEXUAL TRAUMA                  )
MOVEMENT,                                        )
                                                 )
                      Defendants.                )


         JOINT MOTION TO CONVERT CROSS MOTIONS FOR PRELIMINARY
        INJUNCTION INTO CROSS MOTIONS FOR DECLARATORY JUDGMENT

        AND NOW COME the parties, by and through their attorneys, and respectfully submit

this Joint Motion to Convert the Cross Motions for Preliminary Injunction into Cross Motions for

Declaratory Judgment pursuant to this Honorable Court’s suggestion on the record on May 13,

2020:

        1.     At the suggestion of this Honorable Court after the conclusion of the second day

of testimony on the parties Cross Motions for Preliminary Injunction, the parties have discussed

converting these Motions into Cross Motions for Declaratory Judgment.

        2.     Based on those discussions, the parties now jointly agree, stipulate and move to

convert the pending Cross Motions for Preliminary Injunction, and the corresponding issues and

claims presented by both parties, into Cross Motions for Declaratory Judgment.

        WHEREFORE, the parties respectfully request that this Honorable Court grant this Joint

Motion and accept the evidence, testimony, and arguments presented in this action during the

hearings held on May 8th and 13th, 2020, in connection with Cross Motions for Declaratory
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Judgment as to the issues and claims presented by both parties in the pending Cross Motions for

Preliminary Injunction.




                                                   Respectfully submitted,

                                                   /s/ David G. Oberdick
                                                   David G. Oberdick
                                                   Pa. I.D. #47648
                                                   Katelin J. Montgomery
                                                   Pa. I.D. #322698

                                                   MEYER, UNKOVIC & SCOTT
                                                   535 Smithfield Street, Suite 1300
                                                   Pittsburgh, PA 15222
                                                   (412) 456-2800

                                                   Attorneys for Plaintiffs


                                                   /s/ Robert G. Androsiglio
                                                   Robert G. Androsiglio, Esquire

                                                   MONARCH LAW GROUP
                                                   30 Wall Street, 8th Floor
                                                   New York, NY 10005
                                                   (212) 742-0001

                                                   /s/ Brian J. Sommer
                                                   Brian J. Sommer, Esquire

                                                   DORNISH LAW OFFICE, P.C.
                                                   2500 Brooktree Road, Suite 301
                                                   Wexford, PA 15090
                                                   (412)765-2726

                                                   Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this _3rd__ day of June, 2020, a copy of the

foregoing Joint Motion to Convert Cross Motions for Preliminary Injunction into Cross Motions

for Declaratory Judgment was electronically served on all registered parties using the Court’s

ECF system, including:


                               Robert G. Androsiglio, Esquire
                                    Monarch Law Group
                                  30 Wall Street, 8th Floor
                                   New York, NY 10005
                                randrosilglio@rallplaw.com

                                  Brian J. Sommer, Esquire
                                  Dornish Law Office, P.C.
                               2500 Brooktree Road, Suite 301
                                    Wexford, PA 15090
                                   bsommer@dornish.net



                                                   /s/ David G. Oberdick
                                                   Katelin J. Montgomery




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